                IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE NORTHERN DISTRICT OF ALABAMA
                           NORTHERN DIVISION

In Re: Avery Alan Mitchell     )
SSN: XXX-XX-9938               )
                               )                            Case No. 19-81521-CRJ-7
                               )                            Chapter 7
                               )
     Debtor,                   )
_______________________________)
                               )
KIMBERLY MITCHELL,             )
                               )
     Plaintiff,                )
v.                             )                            AP NO.:
                               )
AVERY ALAN MITCHELL,           )
                               )
     Defendant.                )

          COMPLAINT TO DETERMINE DEBTS TO BE NONDISCHARGABLE

       COMES NOW, Kim Mitchell, a creditor in the above bankruptcy, and brings this
Adversary Proceeding to determine that certain debts are nondischargable support obligations.
Creditor shows unto this Honorable Court as follows:


       1. The Debtor filed a voluntary petition under 11 U.S.C. Chapter 7 on May 16, 2019
          asking for relief pursuant to the provisions of the United States Bankruptcy Code.
          The Court has jurisdiction of this adversary proceeding pursuant to 28 U.S.C. Section
          1334.

       2. This is a core proceeding pursuant to 28 U.S.C. Section 157(b)(2)(I) in that it is a
          complaint to determine the dischargeability of a particular debt.

                                                Background

       3. The Creditor, Kim Mitchell is the former spouse of the Debtor. The parties have two
          minor children. The Creditor and Debtor were divorced with the Final Entry of
           Judgment on May 15, 2013. Under the terms of the Order, Debtor was to pay child
           support commencing March 1, 2013 in the amount of $2,000.00 per month. Debtor
           was also to pay all medical related expenses not covered by insurance.

       4. With regard to his former wife, Debtor was to pay $2,000.00 per month as alimony
          commencing March 1, 2013. Additionally, the Order provided payment of alimony
          in gross in the sum of $650,000.00 due in six annual installments of $108,333.00.

       5. Debtor defaulted in payment of these support obligations and the Circuit Court of
          Colbert County, Alabama entered a Judgment in the amount of $236,666.00 on
          October 31, 2016. The Court amended the Order on January 24, 2017 providing for a
          judgment for her attorney’s fees in the amount of $5,000.00.

       6. Debtor has failed to pay the above referenced Judgment and has continued in default
          on his support obligations.

                                                 COUNT I

       7. Creditor incorporates the preceding allegations.

       8. Pursuant to11 U.S.C. Sections 523(a)(5) and 523 (a)(15) the Judgments entered by
          the Circuit Court of Colbert County, Alabama in the amounts of $236,666.00 and
          $5,000.00 are nondischargable obligations.

       WHEREFORE, THE ABOVE PREMISES CONSIDERED, the Creditor requests that
this Court enter an order declaring that the above Judgments are nondischargable pursuant to 11
U.S.C. Section 523(a)(5) and 523(a)(15).



                                                COUNT II

       9. Creditor incorporates the preceding allegations.

       10. Debtor has incurred additional child support arrearage in the amount of $16,500.00
           prior to the filing of the present bankruptcy case. Debtor has incurred additional
           alimony arrearage in the amount of $18,000.00. Debtor has likewise failed to pay the
           remaining four (2) alimony in gross payments in the amount of $216,666.00.

       11. Pursuant to11 U.S.C. Sections 523(a)(5) and 523 (a)(15) the above sum of
           $251,166.00, due at the time of the filing of Debtor’s case, is a nondischargable
           obligation.

       WHEREFORE, THE ABOVE PREMISES CONSIDERED, the Creditor requests that
this Court enter an order declaring that the above sum is a nondischargable support obligation
pursuant to 11 U.S.C. Section 523(a)(5) and 523(a)(15).
Respectfully submitted this 27th day of August, 2019.



                                                    /s/ Melissa W. Larsen
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